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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
HERITAGE FOUNDATION &                )
MIKE HOWELL                          )
                                     )
                  Plaintiffs,        )
                                     )
v.                                   )  Case No. 23-cv-1198 (CJN)
                                     )
U.S. DEPARTMENT OF HOMELAND          )
SECURITY                             )
                                     )
                  Defendant.         )
____________________________________)

              SECOND DECLARATION OF SAMUEL EVERETT DEWEY

       1.      My name is Samuel Everett Dewey. I am counsel to Plaintiffs in this action.

       2.      I make this declaration to update the Court on the factual and procedural posture

of the Department of Homeland Security Headquarters (“DHS HQ”) and Custom and Border

Protection’s (“CBP”) processing of Plaintiffs’ FOIA Request (ECF No. 7-2) and to provide the

Court with additional information relevant to Plaintiffs’ Motion for a Preliminary Injunction.

                                          Background

       3.      May 23, 2023. CBP issued a determination on Plaintiffs’ Administrative Appeal.

(ECF No. 14-1, Ex. A) (“Appeal Denial”). The Appeal Denial purported to “affirm” the Initial

Denial on two separate grounds. See Am. Compl. ¶ 57 (ECF No. 7); Appeal Denial at 3. First, it

determined that “FOIA Division Used its Regulatory Discretion to Require the Requester Obtain

Authorization from the Subject of the Request.” Appeal Denial at 3. Second, it divined an

alternate ground in the Initial Denial and “affirm[ed] the FOIA Division’s second ground for

denial that the agency can neither confirm nor deny the existence of records related to the Duke




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of Sussex as doing so would betray the privacy interests protected by Exemptions (b)(6) and

(b)(7)(C).” Id. at 3–4.

       4.      May 23, 2023. Counsel for Plaintiffs spoke with Counsel for DHS and expressed

extreme concern regarding CBP’s position in the Appeal Denial. In particular, Counsel for

Plaintiffs indicated that CBP’s action was directly contrary to DHS regulations and that if CBP

was going to adopt a construction of DHS regulations that was entirely atextual, Plaintiffs may

seek to amend their Complaint to seek structural relief. In light of this fact, Counsel for

Plaintiffs implored Counsel for DHS to determine if the Department of Justice (“DOJ”) intended

to maintain this litigating position. Counsel for DHS indicated that he did not know if the

position will change.

       5.      May 25, 2023. DHS’ Office of Biometric Identity Management (“OBIM”)

transmitted an email to Plaintiffs stating it was a “final response,” and denying the Request. A

true and correct copy of the email is attached hereto as Exhibit 1. The basis for the response was

that Plaintiffs failed to provide an“[a]lien Number, Fingerprint Identification Number or a

completed Fingerprint Card from the requester” and that the Request would be denied under

Exemption (b)(6) and the Privacy Act regardless. Id.

       6.      May 26, 2023. Plaintiffs learned for the first time via DHS’ Memorandum in

Opposition to Plaintiffs’ Motion for a Preliminary Injunction (ECF No. 14) (“Opposition”) that

DHS Headquarters (“DHS HQ”) appears to have attempted to transmit a letter on April 6, 2023,

to Plaintiffs stating in pertinent part “[d]ue to the subject matter of your request, I am transferring

this request to the FOIA Officers for U.S. Citizenship & Immigration Services (USCIS), Office

of Biometric Identity Management (OBIM), for processing under the FOIA and direct response

to you.” ECF No. 14-2, at 3. To the best of my knowledge, Plaintiffs had not previously



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received this letter. It appears that this letter was misaddressed—“SENT VIA E-MAIL TO:

info@lawgroupusa.com” Id. Neither the letter nor DHS’ filings explain why Plaintiffs were

sent this letter in addition to the letter DHS HQ sent on April 6, 2023, purporting to raise issues

with the framing of the Request. See Am. Compl. ¶ 81; Ans. ¶ 81 (ECF No. 15). The

Opposition also stated “that the Department headquarters did not have any responsive records”,

citing to ECF No. 14-2 and ECF No. 7-18. Opp. at 14. Nothing in those documents supports

this proposition.

       7.      May 26, 2023. Counsel for Plaintiffs spoke to Counsel for DHS and sought

clarification on the forgoing. First, Counsel for Plaintiffs sought additional information on

OBIM’s status given that the Opposition did not address the May 25, 2023 OBIM email despite

it being sent more than a day prior to the Opposition being filed. Counsel for DHS stated that

OBIM was reconsidering its position. Counsel for Plaintiffs also raised the issue of ECF No. 14-

2 being misaddressed. Unfortunately, Counsel for Plaintiffs has received no further information

on this topic to date. Finally, Counsel for Plaintiffs noted that DHS HQ’s position that it could

transfer a FOIA request that was specifically submitted to each DHS component from which

Plaintiffs sought records and further specifically sought records from “the DHS Office of the

Secretary” (Request, at 1–2) was erroneous and sought clarification. Counsel for DHS stated

Defendant would turn to this issue after filing its Answer.

       8.      May 31, 2023. Counsel for Plaintiffs emailed Counsel for DHS in an effort to

narrow the issues in dispute as concerns CBP, writing in pertinent part:

       Plaintiffs would like to discuss whether or not DOJ intends to maintain the CBP position
       in litigation re: third party verification and Glomar. That information may very well
       prove relevant to Plaintiffs’ evaluation of your submission of mootness as to the PI as
       concerns CBP and FWIW we consider the CBP administrative position to be (at least in
       part) frivolous. As you are aware, agencies often withdraw their Glomars in DDC once
       the issue is pressed. In our view it is improper to make an initial determination, use that

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       determination to attempt to moot out a valid expedition claim, and then turn around and
       come off that position in litigation. I also would note on this issue that in our view the
       current submission of CBP as to mootness would estop CBP from opposing any sort of
       accelerated processing schedule on the grounds that this is not an expedited processing
       case.

Email from Samuel Everett Dewey to John Bardo (May 31, 2023), attached hereto as Exhibit 2.

Counsel for Defendant was unable to provide a response. Id.

       9.      June 1, 2023. Counsel for Plaintiffs contacted Counsel for DHS in a last-ditch

effort to navigate the foregoing factual confusion created by DHS, ensure that only issues truly in

contention were presented to the Court, and ensure that issues were presented to the Court in the

most efficient manner possible. First, Counsel for Plaintiffs again sought confirmation of DHS’

litigating position. Counsel for Defendant reiterated the position that DHS had determined there

were no records at DHS HQ and had transferred the matter to OBIM. When asked for citation as

to DHS HQ’s position, Counsel for DHS cited to nothing other than DHS HQ’s representation to

him. Counsel for DHS also could not explain why DHS HQ transmitted two separate April 6,

2023 letters. ECF No. 14-2 and ECF No. 7-18. Second, Counsel for Plaintiffs sought

confirmation that OBIM was reconsidering their denial. Counsel for DHS indicated that he had

been speaking of OBIM communications prior to May 25, 2023, when he stated they were

reconsidering their denial. For avoidance of doubt, Counsel for Plaintiffs transmitted the May

25, 2023 OBIM email for Counsel for DHS’ review. Counsel for DHS then stated he had not

seen that email previously. Counsel for DHS further stated that as far as he understood the May

25, 2023 email was then the final position of OBIM. Counsel for DHS offered no explanation

for why the Opposition did not include the OBIM email transmitted to Plaintiffs over a day

earlier. Counsel for DHS indicated that OBIM’s action did not affect the pendency of the




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Motion as to DHS HQ. Third, Counsel for DHS indicated neither the Department nor CBP

intended to reverse CBP’s Glomar at this time.

                                    Additional Information

       10.     The Press Gazette provides detailed information as of May 18, 2023, on “visits”

to media websites within the United States. That analysis does not easily print to PDF. It may

be found at https://pressgazette.co.uk/media-audience-and-business-data/media_metrics/most-

popular-websites-news-us-monthly-3/ (last visited June 2, 2023). For ease of reading, I excerpt

two key tables below relied upon in Plaintiffs’ Reply in Support of Plaintiffs’ Motion for a

Preliminary Injunction:




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       11.     Attached hereto as Exhibit 3 is United States Customs and Immigration Service’s

(“USCIS”) determination as to the Request dated May 30, 2023.

       12.     Attached hereto as Exhibit 4 hereto is a true and correct print out as of June 2,

2023, of the DHS SecureRelease Portal main page for FOIA Requests submitted by the Heritage

Foundation.

       13.     Attached hereto as Exhibit 5 hereto is a true and correct print out as of June 2,

2023, of the DHS SecureRelease Portal print out of the status of 2023-HQFO-01164.

       14.     Attached hereto as Exhibit 6 hereto is a true and correct copy of Elisa Shearer et

al., Broad agreement in U.S.—even among partisans—on which news outlets are part of the

“mainstream media”, Pew Research Center (May 7, 2021).

I declare under the penalty of perjury that the foregoing is true and correct.




June 2, 2023                                       /s/ Samuel Everett Dewey _
                                                       Samuel Everett Dewey




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